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   4
        Attorney for Plaintiff
   5    LEE MONTES
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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
   10
         LEE MONTES,                                CASE NO.: 2:20-cv-00468-MCS-RAO
   11
               Plaintiff,
   12                                               PLAINTIFF’S MOTION IN LIMINE
         v.
   13                                               NO. 1—EXCLUDE ANY EVIDENCE
         OFFICER DURAN, #673;                       OF PLAINTIFF’S PRIOR ARRESTS
   14    OFFICER RANEER, #664; CITY                 AND CONVICTIONS
         OF EL MONTE; and, DOES 1-50,
   15    inclusive,
                                                        Pretrial Conference
   16          Defendants.                              Date:      April 19, 2021
   17                                                   Time:      2:00 p.m.
                                                        Judge:    Mark C. Scarsi
   18
   19                                                   Trial
                                                        Date:        May 4, 2021
   20                                                   Time:        8:30 a.m.
   21                                                   Judge:       Mark C. Scarsi

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   23
        TO THE COURT, THE PARTIES, AND THE ATTORNEYS OF RECORD:
   24
              COMES NOW Plaintiff Lee Montes (“Plaintiff”) and moves the Court in
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        limine for an order instructing Defendants, Defendants’ counsel, and witnesses on the
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        following matters:
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                                   PLAINTIFF’S MOTION IN LIMINE NUMBER 1
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   1          1.    To exclude any and all evidence Plaintiff’s prior arrests and
   2                convictions; and
   3          2.    To direct Defendants and Defendants’ counsel to caution, warn, and
   4                instruct its witnesses to not make any references to such evidence, and
   5                to follow the same order.
   6          During the meet and confer process pursuant to Local Rule 7.3 on March 10,
   7    2021, Defendants’ counsel indicated that they would likely oppose this motion but
   8    will review the motion once filed. Conlogue Decl. ¶ 3.
   9
   10
        Date: March 29, 2021           THE LAW OFFICE OF KEVIN S. CONLOGUE
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   12                                   By: __/s/Kevin S. Conlogue_________
                                              Kevin S. Conlogue
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                                              Attorney for Plaintiff, LEE MONTES
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                                   PLAINTIFF’S MOTION IN LIMINE NUMBER 1
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   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2       I.    Introduction
   3            This case arises from the excessive force used by Defendant Officer Duran of
   4    the El Monte Police Department (“EMPD”) during the detention and arrest of
   5    Plaintiff on September 30, 2018. From the incident, Defendant Duran used force
   6    against Plaintiff, and arrested Plaintiff for allegedly violating Penal Code §
   7    148(a)—obstructing a peace officer. All charges were later dropped by the District
   8    Attorney’s Office. Plaintiff now seeks redress for his claims of unreasonable
   9    seizure, excessive force, and malicious prosecution against Defendant Duran
   10 pursuant to 42 U.S.C. § 1983 and Monell claim against Defendant City of El Monte.
   11           During discovery, evidence came forth that Plaintiff has been arrested on
   12 numerous other occasions, was convicted in 2012 for domestic violence, was
   13 convicted around 2006 for possession of a concealed weapon, was convicted around
   14 2005 for a hit and run accident, and was convicted around 2005 for credit card
   15 fraud. Additionally, Plaintiff has been diagnosed with bipolar disorder and PTSD.
   16           Said arrests and convictions are irrelevant to the issues presented in this
   17 lawsuit, are not probative of truthfulness and untruthfulness, are to attenuated in
   18 time, and probative value does not substantially outweigh the prejudicial effect. As
   19 such, said evidence should be excluded at trial.
   20      II. Argument
   21           Federal Rule of Evidence 402 provides in relevant part, “[i]rrelevant evidence
   22 is not admissible.” Under Federal Rule of Evidence 401, “[e]vidence is relevant if:
   23 (a) it has any tendency to make a fact more or less probable than it would be without
   24 the evidence; and (b) the fact is of consequence in determining the
   25 action.” Huddleston v. U.S., 485 U.S. 681, 682–92.
   26           The court may exclude relevant evidence under Federal Rule of Evidence 403
   27 if its probative value is substantially outweighed by a danger of one or more of the
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                                      PLAINTIFF’S MOTION IN LIMINE NUMBER 1
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   1    following: unfair prejudice, confusing the issues, misleading the jury, undue delay,
   2    wasting time, or needlessly presenting cumulative evidence.
   3    See Old Chief v. U.S., 519 U.S. 172, 180–92 (1997).
   4          Federal Rule of Evidence 608 allows examination of a witness’s specific
   5    instances of conduct “to be inquired into if they are probative of the character for
   6    truthfulness or untruthfulness of the witness.” Fed. R. Evid. rule 608(b) (emphasis
   7    added) (internal marks omitted).
   8          And, arrests are not relevant for truthfulness or impeachment purposes. Barber
   9    v. City of Chicago, 725 F.3d 702, 707–11 (7th Cir. 2013) (providing that when
   10 plaintiff testified that he does not drink, it was improper to allow him to be impeached
   11 by evidence of an arrest for underage drinking); Smith v. Baltimore City Police
   12 Department, 840 F.3d 193, 201–03 (4th Cir. 2016) (providing that evidence of the
   13 plaintiff’s prior arrest was not relevant to the issue of damages, was unfairly
   14 prejudicial, and represented improper propensity evidence); U.S. v. Estrada, 430 F.3d
   15 606, 614–15 (2d Cir. 2005) (providing that a witness’ larceny conviction is not
   16 automatically admissible for impeachment as a crime of dishonesty).
   17         Here, Plaintiff’s arrests and convictions are not for crimes of dishonesty, save
   18 the credit card fraud conviction. Arrests in themselves are inadmissible, and the
   19 convictions for domestic violence, possession of a concealed weapon, and hit and
   20 run have no bearing on veracity or impeachment, and thus must be excluded.
   21         As for credit card fraud, the circumstances are well over ten (10) years ago.
   22 This remoteness in time is highly prejudicial, and no amount of probative value can
   23 substantially outweigh its prejudicial effect. Fed. R. Evid. 609(b) (providing
   24 convictions over ten years ago are admissible only if “its probative value, supported
   25 by specific facts and circumstances, substantially outweighs its prejudicial effect”);
   26 see S.Rep. No. 1277, 93d Cong., 2d Sess., p. 15 (1974) (providing Congress
   27 intended that convictions over ten years old to be admitted “very rarely and in
   28 exceptional circumstances”); see also U.S. v. Estes, 994 F.2d 147, 149 (5th Cir.

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   1    1993) (holding a conviction over ten years old is presumptively prejudicial); U.S. v.
   2    Rodriguez-Garcia, 983 F.2d 1563, 1571 (10th Cir. 1993) (stating a sixteen year old
   3    conviction is too remote).
   4          Any attempt by Defendants to introduce evidence of any prior convictions or
   5    arrests of Plaintiff would simply be to show general “bad moral character” and to
   6    impassion the jury, which is impermissible. Wolcher v. U.S., 200 F.2d 493, 497–98
   7    (9th Cir. 1952).
   8          As such, any arrest and conviction of Plaintiff is irrelevant, highly
   9    prejudicial, has no bearing on credibility, and should be excluded at trial.
   10      III. Conclusion
   11         As a result of the foregoing, Plaintiff will be unfairly prejudiced and denied a
   12 fair trial unless if the foregoing evidence is excluded.
   13
        Date: March 29, 2021           THE LAW OFFICE OF KEVIN S. CONLOGUE
   14
   15                                     By: __/s/Kevin S. Conlogue_________
                                                Kevin S. Conlogue
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                                                Attorney for Plaintiff, LEE MONTES
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                                     PLAINTIFF’S MOTION IN LIMINE NUMBER 1
